 1     DEVIN DERHAM-BURK #104353
       CHAPTER 13 STANDING TRUSTEE
 2     P O BOX 50013
       SAN JOSE, CA 95150-0013
 3
       Telephone: (408) 354-4413
 4     Facsimile: (408) 354-5513

 5

 6

 7
                                    UNITED STATES BANKRUPTCY COURT
 8     IN RE:                                        )
                                                     )    CHAPTER 13
 9     GLORIA CABRAL ROBLES                          )    CASE NO. 18-51575 MEH
                                                     )
10                                                   )
                                                     )     STATEMENT ADJOURNING 341(a)
11                                                   )     MEETING OF CREDITORS
                                                     )
12     Debtor                                              Fed. R. Bankr. P. 2003(e)

13     According to the Trustee’s records, the Debtor in this Chapter 13 case failed to appear at the First
14     Meeting of Creditors as required by 11 U.S.C. §341(a). A continued First Meeting of Creditors
15     shall be held at the date and time referenced below.
16
       According to the Trustee’s records, the Debtor in this Chapter 13 case failed to provide acceptable
17
       picture identification and/or proof of Social Security Number at the First Meeting of Creditors. A
18
       continued First Meeting of Creditors shall be held at the date and time referenced below. Debtor
19
       must provide acceptable picture identification and proof of Social Security Number.
20

21
        DATE: March 11, 2019                             LOCATION: 280 S. 1st St. Room 130
22      TIME: 11:30 am                                             San Jose, CA 95113-3002
23
        Debtor Must Attend!
24

25

26




     Case: 18-51575       Doc# 108                Notice of Continuance
                                        Filed: 02/19/19      Entered:of02/19/19
                                                                        M eeting of Creditors
                                                                                     15:07:02 with COS - 18-51575
                                                                                                     Page    1 ofM2EH
                               CERTIFICATE OF SERVICE BY MAIL
 1

 2    I hereby declare that I am over the age of 18 years, not a party to the within cause; my business
 3    address is 983 University Ave., Bldg. C-100, Los Gatos, CA 95032. I served a copy of the
 4    Notice of Continuance of Meeting of Creditors by placing same in an envelope in the U.S. Mail
 5    at Los Gatos, California on February 19, 2019. Said envelopes were addressed as follows:
 6

 7 GLORIA CABRAL ROBLES
   3474 GILA DR
 8 SAN JOSE, CA 95148

 9

10

11

12

13

14                                             /s/ Tania Ribeiro
                                              Office of Devin Derham-Burk, Trustee
15

16
      In addition to any paper copies served by U.S. Mail, registered ECF participants, including parties
17
      who have requested Special Notice in this case, will receive an electronic copy of the foregoing
18
      document when it has been filed with the Court.
19

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     Case: 18-51575      Doc# 108                 Notice of Continuance
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                                                                        M eeting of Creditors
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